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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                    CRIMINAL
                                                               CIVIL ACTION

VERSUS                                                            No. 06-269

RONNELL VALLERY                                                  SECTION I/4



                            ORDER AND REASONS

     Before the Court is a pro se motion to vacate, set aside, or

correct sentence pursuant to 28 U.S.C. § 2255 filed by defendant,

Ronnell Vallery (“Vallery”). For the following reasons, Vallery’s

motion is DENIED.

                                Background

     On March 22, 2007 Vallery pled guilty to two counts of a

superseding indictment, charging Vallery in count one with

conspiracy to possess with the intent to distribute 50 grams or

more of cocaine base (“crack”), a quantity of cocaine

hydrochloride, and a quantity of heroin and marijuana and

charging Vallery in count three with making a dwelling available

for manufacturing, distributing, sorting and using controlled

substances.1   See 21 U.S.C. §§ 846, 841(a)(1), 841(b)(1)(A),

841(b)(1)(C), 841(b)(1)(D), 856(a). Vallery also admitted that he

had previously been convicted of a felony drug offense, which was

final, as charged in a superseding bill of information filed to


     1
      Rec. Doc. No. 116; Rec. Doc. No. 205; Rec. Doc. No. 381.

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establish a prior conviction pursuant to 21 U.S.C. § 851(a).2

     Prior to his re-arraignment, Vallery had entered into a plea

agreement with the government whereby he agreed to plead guilty

to counts one and three of the superseding indictment and the

government agreed to dismiss the remaining counts.3 Vallery also

agreed to plead guilty to the superseding bill of information

charging that Vallery had one prior felony drug offense in return

for which the government agreed not to charge Vallery with two

prior felony drug convictions which could have resulted in a

mandatory life sentence.4 Vallery further agreed to waive his

right to appeal his conviction and/or sentence as well as his

right to contest his conviction and/or sentence in any collateral

proceeding under 28 U.S.C. § 2255. With respect to his waiver,

the plea agreement provides:

     Except as otherwise provided in this paragraph, the
     defendant hereby expressly waives his rights to appeal
     from his conviction and/or sentence, including but not
     limited to any appeal rights conferred by Title 28,
     United States Code, Sections 1291, and by Title 18,
     United States Code, Section 3742. The defendant further
     waives his right to contest his conviction and/or his
     sentence in any collateral proceeding, including
     proceedings brought under Title 28, United States Code,
     Section 2241 and Title 28, United States Code, Section
     2255, on any ground, except that the defendant may
     bring a post conviction claim if the defendant
     establishes that ineffective assistance of counsel
     directly affected the validity of this waiver of appeal

     2
      Rec. Doc. No. 381, p. 59.
     3
      Rec. Doc. No. 118, pp. 1-2.
     4
      Id.

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      and collateral challenge rights or the validity of the
      guilty plea itself. Subject to the foregoing, the
      defendant reserves the right to bring a direct appeal
      of any sentence imposed in excess of the statutory
      maximum.5


      On June 21, 2007, the Court sentenced Vallery to the

statutorily-mandated minimum sentence of 240 months as to count

one and to 151 months as to count three, the terms of

imprisonment to be served concurrently.6 The Court also imposed a

ten year term of supervised release as to each count, to be

served concurrently. On motion of the government, the Court

dismissed the remaining counts of the superseding indictment.7

      Vallery filed this motion pursuant to 28 U.S.C. § 2255,

arguing that his attorney denied him his Sixth Amendment right to

effective assistance of counsel during the June 21, 2007

sentencing hearing.8      Specifically, Vallery contends that his

counsel “failed to object when the district court went above

Vallery’s statute maximum guideline sentence,” that his counsel


      5
       Id. at 3.

      6
       Rec. Doc. No. 205. There is a discrepancy between the judgment, which
states that a sentence of 151 months was imposed as to count three, and the
sentencing transcript, which states that Vallery was sentenced to a term of
135 months as to count three. Nonetheless, the sentence for count three is
to run concurrently with Vallery’s 240-month sentence as to count one and it
is, therefore, subsumed by the sentence imposed as to count one.
      Vallery’s guideline range was 151 months to 188 months. However, because
count one carried a mandatory minimum sentence of 240 months, the guideline
range was restricted to 240 months. See Pre-sentence Investigation Report at
31 (revised June 21, 2007).
      7
       Id.
      8
       Rec. Doc. No. 374-2, p. 1.

                                         3
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failed to submit a motion to correct or reduce “the sentence

error,” that his counsel failed to advise him of the maximum

sentence that he could receive, that his counsel’s “assessment”

that he would face 97 to 121 months “grossly underestimated” the

240-month sentence imposed, that his counsel failed to object to

an untimely filing of the bill of information alleging a prior

felony drug conviction, that his counsel failed to object when

the Court “treat[ed] the guidelines as mandatory, instead of

advisory, that his counsel failed to object to the indictment,

that his counsel failed “to appeal his sentence from the

defectiveness of the indictment,” that his counsel informed him

that he would receive a three-point reduction for acceptance of

responsibility, and     that his counsel failed to argue on appeal

that Vallery had accepted responsibility.9

                                Law & Analysis

I. Overview of § 2255

     Section    2255(a) provides a prisoner in custody with four

grounds upon which relief may be granted: (1) “that the sentence

was imposed in violation of the Constitution or laws of the

United States;” (2) “that the court was without jurisdiction to

impose such sentence;” (3) “that the sentence was in excess of

the maximum authorized by law;” or (4) that the sentence “is

otherwise subject to collateral attack.”          28 U.S.C. § 2255(a)

     9
      Id.; Rec. Doc. No. 388.

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(2008); see Hill v. United States, 368 U.S. 424, 426-27, 82 S.

Ct. 468, 470, 7 L. Ed. 2d 417 (1962).         Section 2255 is designed

to remedy constitutional errors and other injuries that could not

be brought on direct appeal and would result in injustice if left

unaddressed.    See United States v. Williamson, 183 F.3d 458, 462

(5th Cir. 1999).   “[A] proceeding under Section 2255 is an

independent and collateral inquiry into the validity of the

conviction . . . .”    United States v. Hayman, 342 U.S. 205, 222-

23, 72 S.Ct. 263, 274, 96 L. Ed. 232 (1952).           The inquiry does

not extend to the misapplication of sentencing guidelines. See

Williamson, 183 F.3d at 462.     If the court determines that the

prisoner is entitled to relief “[it] shall vacate and set the

judgment aside and shall discharge the prisoner or resentence him

or grant a new trial or correct the sentence as may appear

appropriate.”   28 U.S.C.. § 2255(b).         “The § 2255 remedy is

broad and flexible, and entrusts to the courts the power to

fashion an appropriate remedy.”         United States v. Garcia, 956

F.2d 41, 45 (4th Cir. 1992) (citing Andrews v. United States, 373

U.S. 334, 339, 83 S. Ct. 1236, 1239, 10 L. Ed. 2d 383 (1963)).

Pursuant to § 2255, the Court must grant defendant a hearing to

determine the issues and make findings of fact and conclusions of

law unless “the motion, files, and records of the case

conclusively show that the prisoner is entitled to no relief.”

United States v. Bartholomew, 974 F.2d 39, 41 (5th Cir. 1992).


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II. Standard of Law

       The standard for judging the performance of counsel was

established by the United States Supreme Court in Strickland v.

Washington, 466 U.S. 668, 104 S. Ct. 2052, 80 L. Ed. 2d 674

(1984).   In Strickland, the Court articulated a two-part test for

evaluating ineffective assistance claims that requires a

defendant to prove (1) deficient performance and (2) resulting

prejudice.    Id. at 692-93.   The Court first held that “the

defendant must show that counsel’s representation fell below an

objective standard of reasonableness.”        Id. at 687-88.      Second,

“[t]he defendant must show that there is a reasonable probability

that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.”        Id. at 694; see also

United States v. Kimler, 167 F.3d 889, 893 (5th Cir. 1999).             In

deciding ineffective assistance of counsel claims, the court need

not address both prongs of the conjunctive Strickland standard,

but may dispose of such a claim based solely on a petitioner’s

failure to meet either prong of the test. See Kimler, 167 F.3d at

893.

       A habeas corpus petitioner “need not show that ‘counsel’s

deficient conduct more likely than not altered the outcome in the

case.’ But it is not enough, under Strickland ‘that the errors

had some conceivable effect on the outcome of the proceeding.’”

Motley v. Collins, 18 F.3d 1223, 1226 (5th Cir. 1994) (quoting


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Strickland, 466 U.S. at 693).

     In Hill v. Lockhart, the United States Supreme Court held

that the two-part Strickland standard was applicable to

challenges to guilty pleas based on ineffective assistance of

counsel.        474 U.S. 52, 58, 106 S. Ct. 366, 370, 88 L. Ed. 2d 203

(1985).         With respect to the prejudice prong of Strickland,

defendant must show “that there is a reasonable probability that,

but for counsel’s errors, he would not have pleaded guilty and

would have insisted on going to trial.” United States v. Glinsey,

209 F.3d 386, 392 (5th Cir. 2000) (quoting Lockhart, 474 U.S. at

59, 106 S. Ct. at 370).

III. Waiver of § 2255 Rights

     As part of his plea agreement, Vallery waived his right to

contest his conviction and sentence, pursuant to 28 U.S.C. §

2255, “on any ground” except to the extent that he is able to

establish that ineffective assistance of counsel directly

affected the validity of this waiver...or the validity of the

guilty plea itself.”10 Vallery reserved the right to bring a

direct appeal of any sentence imposed in excess of the statutory

maximum.11

     The United States Court of Appeals for the Fifth Circuit has

held that a defendant may waive his right to post-conviction


     10
          Rec. Doc. No. 118.
     11
          Id.

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relief pursuant to 28 U.S.C. § 2255 if the waiver was knowing and

voluntary. United States v. White, 307 F.3d 336, 341 (5th Cir.

2002)(citing United States v. Wilkes, 20 F.3d 651, 653 (5th Cir.

1994)); see also United States v. Hernandez, 234 F.3d 252, 254

(5th Cir. 2000). For the waiver to be knowing and voluntary, the

defendant must know that he had a right to seek collateral review

and that he was giving up that right. See United States v.

Portillo, 18 F.3d 290, 292 (5th Cir. 1994)(discussing waiver of

appellate rights).

     A claim for ineffective assistance of counsel may survive a

waiver “when the claimed assistance directly affected the

validity of that waiver or the plea itself.” 307 F.3d at 343.12 A

claim of ineffective assistance of counsel at any other stage,

such as sentencing, cannot overcome a knowing and voluntary plea

or waiver. Id. at 341-43; United States v. McCray, No. 07-194,

2009 WL 1380304, at *4 (E.D. La. May 13, 2009)(Barbier, J.);

United States v. James, No. 05-059, 2007 WL 2323385, at *6 (E.D.

La. Aug. 10, 2007)(Vance, J.)(“If a petitioner cannot establish

that ineffective assistance of counsel rendered his plea

unknowing or involuntary, then his waiver bars him from

challenging other stages of the proceedings against him.”).

     12
       Additionally, a waiver cannot be enforced to bar review of a sentence
that exceeds the statutory maximum or where the defendant correctly contends
that the indictment clearly does not state an offense or where the factual
basis for the plea agreement does not show that the defendant committed the
offense. White, 307 F.3d at 341 n.2; United States v. Hollins, 97 Fed. App’x
477, 479 (5th Cir. 2004).

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Therefore, as long as the plea and the waiver, itself, were

knowing and voluntary and the contested issue is the proper

subject of waiver, “the guilty plea sustains the conviction and

sentence and the waiver can be enforced.” White, 307 F.3d at 343-

44.

      A. Validity of Guilty Plea

      Vallery claims that his counsel failed to advise him of the

maximum sentence that he faced. Vallery also claims that his

counsel’s “assessment that he would face 97 to 121 months

imprisonment grossly underestimated [the] 240 month sentence”

that he received and that his counsel told him that he would

receive a 120-month sentence if he pled guilty to possession with

the intent to distribute 50 grams or more of cocaine base.13

      For a guilty plea “[t]o be knowing and intelligent, the

defendant must have ‘a full understanding of what the plea

connotes and of its consequences.’” Hernandez, 234 F.3d at 255.

“The defendant need only understand the direct consequences of

the plea; he need not be made aware [of] every consequence that,

absent a plea of guilty, would not otherwise occur.” Id.; see

also United States v. Pearson, 910 F.2d 221, 223 (5th Cir.

1990)(“Due process requires that a guilty plea be a knowing and

voluntary act; the defendant must be advised of and understand

the consequences of the plea.”). With respect to sentencing, a

      13
           Rec. Doc. No. 34-2, p. 14.

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defendant must only know the maximum term of imprisonment and

fine that he faces. Pearson, 910 F.2d at 223. “‘As long as [the

defendant] understood the length of time he might possibly

receive, he was fully aware of his plea’s consequences.’” Id.

(quoting United States v. Rivera, 898 F.2d 442, 447 (5th Cir.

1990)). A defendant must also know of the possibility of sentence

enhancement based on recidivism in order to ensure that the

defendant has an opportunity to timely contest the enhancement.

Id.

      The record is clear that Vallery was aware of the maximum

sentence that could be imposed and the enhanced minimum sentence

mandated by statute as a result of his prior conviction for a

felony drug offense. Vallery signed the March 22, 2007 plea

agreement, which acknowledged that:

      defendant further understands that the penalty
      defendant may receive should his plea of guilty to
      Count 1 be accepted is: A) for the cocaine base
      (“crack”)- a mandatory minimum of twenty (20) years and
      a maximum of life imprisonment and/or a fine not exceed
      the greater of that authorized in accordance with the
      provisions of Title 18, or eight million
      ($8,000,000.00) dollars, pursuant to Title 21, United
      States Code, Sections 841(b)(1)(A) and 851...14


      During the re-arraignment hearing, the Court also advised

Vallery of the maximum possible penalties he faced with respect

to counts one and three and the mandatory minimum sentence



      14
           Rec. Doc. No. 118, p. 2.

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imposed by 21 U.S.C. § 841(b)(1)(A). Vallery confirmed that he

understood that the Court could impose the maximum possible

sentences explained to him.15       Vallery also confirmed that he

understood that any discussions with his attorney regarding

sentencing guidelines were merely rough estimates and that the

Court was not bound by such discussions.16

      The Court also specifically informed Vallery that having a

prior felony drug conviction, as charged in the superseding bill

of information, would increase his penalties. After he was

advised of the consequences of having a prior conviction for a


      15
         At the re-arraignment, the Court confirmed Vallery’s understanding of
the penalties he faced as follows:
              THE COURT: Now, Count 1 of the superseding indictment
              charges that you conspired to possess with intent to
              distribute multiple controlled substances. Among those
              controlled substances, the most severe penalties are
              attached to the 50 grams or more of cocaine base.
              Accounting for your prior felony drug convictions, the
              maximum possible sentence which could be imposed on each of
              you in the event of a conviction with respect to Count 1,
              either upon a plea of guilty or after a trial at which
              you’re found guilty, is a mandatory minimum of 20 years
              imprisonment and a maximum term of life imprisonment; a fine
              of not more than $8 million; and a term of supervised
              release of at least ten years.
              ...
              Now, Ronnell Vallery, the maximum possible sentence which
              could be imposed on you in the event of a conviction with
              respect to Count 3, either upon a plea of guilty or after a
              trial at which you’re found guilty, is a maximum term of 20
              years imprisonment; a fine of not more than $500,000; and a
              term of supervised release of not more than three years.
              ...
              Now, do each of you fully understand if I accept your guilty
              pleas, I could impose the maximum possible sentences I just
              related to each of you?
              ...
              MR. VALLERY: Yes, sir.
              Rec. Doc. No. 381, pp. 17-20. Vallery and a co-defendant,
      Travis Randolph, were re-arraigned at the same time.
      16
           Id. at 29.

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felony drug offense, Vallery admitted to the Court that he was

previously convicted of possession with the intent to distribute

cocaine in violation of the Louisiana Revised Statutes, that he

was sentenced to five years in prison, and that his sentence was

suspended and he was placed on probation.17 The Court further

advised Vallery that any challenge to his prior conviction that

he did not raise before sentencing could not be raised to attack

his sentence in this matter.18

      Notwithstanding Vallery’s contentions of deficient

performance by his counsel, it is clear that Vallery understood

that the minimum sentence that he faced was 240 months based on

his prior conviction for a felony drug offense. Vallery confirmed

his understanding in a signed plea agreement and again in

statements to the Court before the Court accepted his guilty

plea. See Wilkes, 20 F.3d at 653 (“Solemn declarations in open

court carry a strong presumption of verity.”).            Accordingly, even

if his counsel incorrectly represented the applicable sentences

to him, the record shows that Vallery’s guilty plea was knowing



      17
           Id. at p. 59.
      18
        Id. at 60. Vallery admitted to the prior conviction for a felony drug
offense in a signed plea agreement, in a signed factual basis, at his re-
arraignment hearing, and again at his sentencing hearing. Rec. Doc. No. 118;
Rec. Doc. No. 119, p. 8; Rec. Doc. No. 381, pp. 59-60; Rec. Doc. No. 399, p. 3
(“THE COURT: You are the Ronnell Vallery who previously [pled] guilty on
January 24, 2002, in Orleans Parish Criminal District Court to possession with
intent to distribute cocaine, a violation of the Louisiana Revised Statutes
and were sentenced to serve five years in the custody of the Louisiana
Department of Corrections and sentenced to active probation for three years,
is that correct, sir? MR. VALLERY: Yes, sir.).

                                      12
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and voluntary.19

      B. Validity of Waiver

      The record likewise supports the validity of Vallery’s

waiver. Vallery signed a written plea agreement, acknowledging

his agreement to waive his right to collateral review pursuant to

28 U.S.C. § 2255. The agreement set forth the limited grounds on

which Vallery reserved his rights to review.20 At Vallery’s re-

arraignment hearing, the Court confirmed that Vallery did indeed

sign the agreement and the government summarized the terms of the

waiver.21 The Court also explained the terms of the waiver and

Vallery indicated his understanding and agreement with the




      19
       Given Vallery's admissions on the record that he had a prior felony
drug conviction, which he does not dispute, the Court was bound to impose the
mandatory minimum sentence of 240 months. Therefore, Vallery cannot establish
that he was prejudiced by the alleged deficiency of his counsel. Even now,
Vallery does not dispute his prior felony drug conviction, nor does he dispute
the government’s evidence establishing his guilt with respect to this
conviction for the conspiracy.
      Moreover, Vallery does not allege that he would not have pled guilty but
for his counsel’s errors. Confusingly, Vallery states, “Had he known about his
greater sentencing exposure, Vallery would have been far more likely to plead
guilty (and thereby avail himself of the guidelines of § 3E1.1 reduction for
acceptance of responsibility) rather than to proceed to trial.” Rec. Doc. No.
374-2, p. 14. Additionally, as part of the plea agreement, the government
agreed not to charge Vallery with two other prior felony drug convictions. To
the extent that either of these convictions are valid for purposes of
enhancement, Vallery would have faced a mandatory life sentence if he did not
plead guilty as he did. See 21 U.S.C. § 841(b)(1)(A)(“If any person commits a
violation of this subparagraph...after two or more prior convictions for a
felony drug offense have become final, such person shall be sentenced to a
mandatory term of life imprisonment without release....”).
      20
           Rec. Doc. No. 118, p. 3.
      21
       Rec. Doc. No. 381, pp. 25-27 (“This plea agreement also outlines the
fact that the defendants agree to waive their rights to appeal in connection
with this conviction and their sentence that they may receive, including any
petitions pursuant to Title 2255.”).

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terms.22

      Nearly all of Vallery’s claims focus on alleged deficiencies

of counsel with respect to Vallery's sentencing. Indeed, Vallery

claims that he was denied effective assistance of counsel “during

the sentencing hearing.”23 In light of Vallery’s knowing and

voluntary waiver, his claims of ineffective assistance of counsel

at sentencing are barred. See McCray, 2009 WL 1380304, at *4.

Therefore, the Court need not reach the merits of the following

claims: that his counsel was ineffective for not objecting to a

sentence above the “statute maximum guideline sentence,” that his

counsel failed to timely submit a motion to correct his sentence

under Rule 35, that his counsel failed to object to the Court

considering the sentencing guidelines as mandatory24, that his

counsel failed to object to an untimely filing of the bill of

information,25 that his counsel informed him that he would


      22
           Id. at p. 28.
      23
           Rec. Doc. No. 374-2, p. 1.
      24
       The Court notes that at Vallery’s re-arraignment the Court advised
Vallery that the Court has discretion to sentence outside of the guidelines
because the guidelines are advisory, not mandatory. Rec. Doc. No. 381, p. 21.
Nonetheless, the guidelines were not applicable as he faced a mandatory
minimum sentence of 240 months. The Court explained the mandatory minimum
sentence to Vallery at his re-arraignment and sentencing hearings. At the
sentencing hearing, the Court explained, “Because of the mandatory minimum,
the restrictive ranges, there is just, I have no discretion with respect to a
portion of the sentence that I am going to impose today.” Rec. Doc. No. 399,
p. 5.
      25
         To the extent that it was not waived by his plea agreement, Vallery’s
claim that his counsel failed to object to “an untimely filing of information
alleging a prior drug conviction” is completely unsupported. The government
filed the bill of information on March 1, 2007, twenty-one days prior to
Vallery’s re-arraignment. Pursuant to 21 U.S.C. § 851(a)(1),a bill of

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receive a three-point reduction for acceptance of responsibility,

and   that his counsel failed to argue on appeal that he had

accepted responsibility.26

      IV. Defective Indictment

      Notwithstanding, as previously stated, a waiver cannot be

enforced where the defendant correctly contends that the

indictment clearly does not state an offense. White, 307 F.3d at

341 n.2. Therefore, the Court will address the merits of

Vallery’s claim that the indictment failed to state an offense

and that his counsel was ineffective for failing to object to the

indictment or “appeal [the] sentence from the defectiveness of

the indictment.”27 Although vague, Vallery appears to argue that

the superseding indictment failed to state a quantity of drugs.28


information alleging prior convictions need only be filed “before trial, or
before entry of a plea of guilty.” The rationale behind a timely filing of a
bill of information is to “provide defendants with the notice necessary to
allow them to challenge the contents of the...information.” United States v.
Steen, 55 F.3d 1022, 1026 (5th Cir. 1995). As previously discussed, the Court
provided Vallery with an opportunity to contest the bill of information at his
re-arraignment and further reminded him that he must object prior to
sentencing. Vallery does not contest the contents of the bill of information.
      26
       Vallery’s counsel argued at sentencing that Vallery had accepted
responsibility. Rec. Doc. No. 399, p. 4. Moreover, Vallery received a three-
point reduction for acceptance of responsibility. See Presentence
Investigation Report, p. 22, line 133 (revised June 21, 2007).
      27
           Rec. Doc. No. 374-2, p. 33.
      28
       Rec. Doc. No. 374-2, pp. 22, 29. Given the cut-and-paste nature of
Vallery’s memorandum, the Court has some difficulty understanding Vallery’s
claims. On one page of his memorandum, Vallery states, “The Indictment failed
to allege that the act was done with the intent to commit.” However, the Court
assumes that Vallery copied this claim from another petition as a subsequent
sentence states, “That denied Melvin Lutcher Sr. of his 5th Amendment right to
Due Process of the Law of the U.S. Constitution.” Id. at p. 30. Moreover,
counts 1, 2,3, and 15 of the superseding indictment all allege that Vallery
committed acts “intentionally.” Rec. Doc. No. 12. Count one specifically

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      “An indictment is sufficient if it contains the elements of

the charged offense, fairly informs the defendant of the charges

against him, and ensures that there is no risk of multiple

prosecutions for the same offense.”         United States v. Thomas, 348

F.3d 78, 82 (5th Cir. 2003)(quoting United States v. Sims Bros.

Constr., Inc., 277 F.3d 734, 741 (5th Cir. 2001)).               “Generally,

an indictment which follows the language of the statute under

which it is brought is sufficient to give a defendant notice of

the crime of which he is charged.” Id. (quoting United States v.

Ramirez, 233 F.3d 318, 323 (5th Cir. 2000)).

      Following the United States Supreme Court’s decision in

Apprendi v. New Jersey,29 holding that any fact that increases a

penalty beyond the prescribed statutory maximum must be proven to

the jury beyond a reasonable doubt, the Fifth Circuit concluded

that with respect to violations of 21 U.S.C. § 841(b)(1), the

quantity of drugs is an element of the offense. United States v.

Doggett, 230 F.3d 160, 164 (5th Cir. 2000). Therefore, “if the

government seeks enhanced penalties based on the amount of drugs

under 21 U.S.C. 841(b)(1)(A) or (B), the quantity must be stated

in the indictment....” Id. at 164-65; United States v. Moreci,



states that Vallery “did knowingly and intentionally” conspire to possess with
the intent to distribute 50 grams or more of cocaine base. Id.
      29
       In Apprendi, the Court held that “[o]ther than the fact of a prior
conviction, any fact that increases the penalty for a crime beyond the
prescribed statutory maximum must be submitted to a jury, and proved beyond a
reasonable doubt.” 530 U.S. 466, 120 S. Ct. 2348, 147 L. Ed. 2d 435 (2000).

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283 F.3d 293, 297 (5th Cir. 2002). If an indictment does not

state a drug quantity, then the maximum penalty that may be

imposed is limited to the maximum sentences prescribed in

§841(b)(1)(C) or (D), depending on the type of drug. Moreci, 283

F.3d 297-98 (stating that the statutory maximum of five years’

imprisonment under 841(b)(1)(D) became the default when an

indictment failed to allege a quantity of marijuana.); United

States v. Garcia, 242 F.3d 593, 599-600 (5th Cir. 2001).

      With respect to the two counts of which Vallery was

convicted, only count one required an allegation of drug

quantity.30 Count one charges that Vallery and eight other co-

defendants “did knowingly and intentionally combine, conspire,

confederate and agree with each other and with other persons

known and unknown to the Grand Jury, to possess with the intent

to distribute 50 grams or more of cocaine base (“crack”) and a

quantity of cocaine hydrochloride, both Schedule II narcotic drug

controlled substances and a quantity of heroin and marijuana,

both Schedule I drug controlled substances; in violation of Title

21, United States Code, Sections 841(a)(1), 841(b)(1)(A),

841(b)(1)(C) and 841(b)(1)(D); all in violation of Title 21,


      30
       Count three charges that Vallery violated 21 U.S.C. § 856(a), which
does not require a quantity of drugs. Section 856(a) makes it unlawful “for
anyone to knowingly open or maintain any place for the purpose of
manufacturing, distributing, or using any controlled substance.” Fifth Circuit
Pattern Jury Instructions (Criminal) § 2.91 (2001). The statute contains no
reference to a quantity of drugs. See 21 U.S.C. § 856(a). Indeed, the penalty
provision sets the maximum term of imprisonment at twenty years, regardless of
the quantity of drugs involved. 21 U.S.C. § 856(b).

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United States Code, Section 846.”31

      Count one follows the language of 21 U.S.C. § 841(b)(1)(A)

and 21 U.S.C. § 846 and further gave Vallery notice of the

elements of conspiracy.32 Notwithstanding Vallery’s claims, the

superseding indictment alleges a drug quantity and, therefore,

properly states an offense under § 841(b)(1)(A). The fact that

the indictment alleges the drug quantity as “50 grams or more” of

cocaine base does not make the indictment defective. See United

States v. Hayes, 2006 WL 1581196, at *9 (W.D. La. Jan. 24, 2006)

(stating that the § 841(b)(1)(A) minimum threshold of 50 grams,

rather than a specific amount, was the “element” that the jury

was required to determine).       Any objection or motion to dismiss

would have lacked merit. Therefore, Vallery’s counsel was not

ineffective for failing to object to the superseding indictment.

See Wood v. Quarterman, 503 F.3d 408, 413 (5th Cir. 2007).

      Accordingly,

      IT IS ORDERED that the motion to vacate, set aside, or

correct sentence pursuant to 28 U.S.C. § 2255 is DENIED and

Vallery’s petition for post-conviction relief is DISMISSED WITH

PREJUDICE.


      31
           Rec. Doc. No. 12.
      32
       The elements of conspiracy under 21 U.S.C. § 846 are “(1) an agreement
between two or more persons to violate the narcotics laws; (2) the defendant’s
knowledge of the agreement; and (3) the defendant’s voluntary participation in
the conspiracy.” Thomas, 348 F.3d at 82 (quoting United States v. Booker, 334
F.3d 406, 409 (5th Cir. 2003)).

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   New Orleans, Louisiana, August           11th , 2009.




                                             LANCE M. AFRICK
                                       UNITED STATES DISTRICT JUDGE




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